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UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA
SOUTHERN DIVISION

 

SANGMAN OH and DONG BUM SONG,
Plaintiffs,
vs.

FLOYD SWIER, LAURA LASZLO and
SWIER FAMILY FARMS, L.L.C.,

Defendants.

Civ. 09-4127

STIPULATIoN FoR
JUI)GMENT oF DISMISSAL

 

 

IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiffs, and the

Defendants, by and through their respective counsel of record, that the Complaint of the

Plaintiffs, Sangrnan Oh and Dong Bum Song, against Defendants Floyd Swier, Laura Laszlo and

Swier Farnily Farrns, L.L.C., and all causes of action there under Which Were asserted, may

hereby be dismissed, Without prejudice, and Without costs or further notice to any of the parties.

Dated this § day of May, 2010.

JANKLoW LAW FIRM, PROF. L.L.C.

 

And W R. Damgaard

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Dated this é_ day of May, 2010.

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CERTIFICATE OF SERVICE

I hereby certify that on the iq day of May, 201(), l electronically filed the Stipulation
for Judgment of Dismissal With the Clerl< of Court using the CM/ECF system which Will
automatically send e-mail notification of such filing to the following:

Stephen C. Landon

Shawn M. Nichols

CADWELL, SANFoRD, DEIBERT & GARRY, LLP
PO Box 2498

Sioux Falls, SD 57101-2498

Dated this /.,L day of May, 2010.

JANKLoW LAW FIRM, PROF. ?

 

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